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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                              :
                                    :                        Chapter 11
HVI CAT CANYON, INC.,               :
                                    :                        Case No. 19-12417 (MEW)
                      Debtor.       :
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                  ORDER SCHEDULING INITIAL CASE CONFERENCE

        The Debtor having filed a petition for reorganization under Chapter 11 of the Bankruptcy
Code on July 25, 2019, and the Court having determined that a case management conference will
aid in the efficient conduct of the case, it is

        ORDERED, pursuant to 11 U.S.C. § 105(d), that an initial case management conference
shall be conducted by the Honorable Michael E. Wiles in Courtroom 617, United States
Bankruptcy Court, Alexander Hamilton Custom House, One Bowling Green, New York, New
York 10004, on August 27, 2019 at 11:00 a.m., or as soon thereafter as counsel may be heard,
to consider the efficient administration of the case, which may include, inter alia, such topics as
retention of professionals, creation of a committee to review budget and fee requests, use of
alternative dispute resolution, timetables, and scheduling of additional case management
conferences; and it is further

        ORDERED, that the Debtor shall give notice by mail of this order at least seven days
prior to the scheduled conference to each committee appointed to serve in the case pursuant to 11
U.S.C. § 1102 (or, if no committee has been appointed, to the holders of the 10 largest unsecured
claims), the holders of the five largest secured claims, any post-petition lender to the Debtor, and
the United States Trustee, and shall promptly file proof of service of such notice with the Clerk
of the Court.

DATED:         New York, New York
               July 29, 2019


                                              s/Michael E. Wiles
                                              UNITED STATES BANKRUPTCY JUDGE
